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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 JAMES STANBACK,                              )
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )    CIV. ACT. 1:23-cv-451-TFM-MU
                                              )
 OFFICER EVANS, et al.,                       )
                                              )
        Defendants.                           )

                                        JUDGMENT

       In accordance with the Memorandum Opinion and Order entered this same date, it is

ORDERED, ADJUDGED, and DECREED that this case is DISMISSED without prejudice.

       The Clerk of Court is DIRECTED to enter this document on the civil docket as a Final

Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

       DONE and ORDERED this 29th day of February, 2024.

                                            /s/Terry F. Moorer
                                            TERRY F. MOORER
                                            UNITED STATES DISTRICT JUDGE




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